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                  UNITED STATES DISTRICT COURT
                    MIDDLE DISTRICT OF FLORIDA
                       JACKSONVILLE DIVISION


MARILYN R. HUNT,
    Plaintiff,

V.                                       CASE NO. 3:21-cv-1229-HES-MCR


STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY,et al.,
      Defendants.
                                    /


                                 ORDER


      The Magistrate Judge's Report and Recommendation (Dkt. 19) suggests

James Lightfoot's Motion to Intervene should be denied. No objections have

been filed. After an independent review of the record, this Court adopts the

Report and Recommendation in full.

      Accordingly, it is ORDERED:

      1. The Magistrate Judge's Report and Recommendation (Dkt. 19) is

ADOPTED;

      2. James Lightfoot's Motion to Intervene (Dkt. 15) is DENIED.

      DONE AND ORDERED at Jacksonville, Florida, this                  of

October, 2022.


                                               E. S       SIHTOER
                                    UMTED ST           DISTRICT JUDGE
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